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                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                            LAFAYETTE-OPELOUSAS DIVISION

 UNITED STATES OF AMERICA                                 *       CRIM. NO. 06-60074-01

 VERSUS                                                   *       JUDGE DOHERTY

 ERIC JOSEPH ALEXANDER                                    *        MAGISTRATE JUDGE HILL

                              MEMORANDUM RULING
      (Motion to Dismiss the Indictment-Multiplicitous Counts – Record Doc. 101)

         The defendant, Eric Joseph Alexander, has filed a motion to dismiss counts one

 and fifteen of the indictment on the grounds that these counts are multiplicitous, in that

 they charge a single offense in two counts.          The defendant relies on the decision of the

 United States Supreme Court in Rutledge v. United States, 116 S.Ct. 1241 (1996), for the

 proposition that counts one and fifteen are multiplicitous. The plaintiff cites no authority

 to the court which would require dismissal of the indictment on multiplicity grounds. In

 fact, the defendant acknowledges that the normal remedy for multiplicitous counts is to

 order the government to elect one count, and dismiss the remaining multiplicitous counts.

         Here, the defendant argues that the proper remedy is dismissal of the indictment

 because when the government presented the indictment to the grand jury, the government

 created the impression with the grand jury that the defendant’s conduct constituted more

 criminal activity than in fact occurred. [ Record Doc. 101, ¶ 7].1

         1
           United States v. Marquardt, 786 F.2d 771, 778 (7th Cir.1986), which is cited by the defendant in
 support of his position that the indictment should be dismissed provides absolutely no support for this
 position. In fact, the court in Marquardt held that no multiplicity existed in that indictment.
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         The government concedes that the court in Rutledge held, under circumstances

 identical to those in this case, that a drug conspiracy violation pursuant to 21 U.S.C. § 846

 was a lesser included offense to a Continuing Criminal Enterprise (CCE) conviction

 pursuant to 21 U.S.C. § 848, and that therefore its indictment in this case is, in fact,

 multiplicitous. The government goes on to argue, however, that since the court may not

 sentence the defendant under both counts one and fifteen, that the defendant can suffer no

 harm, and therefore both counts should be left in the indictment and sent to the jury. In

 support of that argument, the government cites cases where the Fifth Circuit vacated the

 lesser included offense following conviction.2

         As the government concedes, there is no question but that count one of this

 indictment is a lesser included offense of count fifteen. That is the clear holding of

 Rutledge. Since count one is a lesser included offense of the crime charged in Count

 fifteen, both counts charge the same offense.

         “Multiplicity” is the charging of a single offense in several counts. The vice of

 multiplicity is that it may lead to multiple punishments for a single crime, an obvious

 double jeopardy violation. There is also concern that a “ prolix pleading may have some

 psychological effect upon a jury by suggesting to it that defendant has committed not one

 but several crimes.” Wright & Miller, 1A Federal Practice and Procedure, § 142.




         2
         United States v. Fields, 72 F.3d 1200, 1209 – 1210 (5th Cir. 1976); United States v. Wilson, 116
 F.3d 1066, 1086 (5th Cir.1997) and United States v. Tolliver, 601F.3d 1189, 1223 (5th Cir. 1995).

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        Since counts one and fifteen are admittedly multiplicitous, the only question that

 remains is what remedy, if any, should be imposed. The defendant argues that the entire

 indictment should be dismissed. The defendant has no real support for that position for

 the very good reason that the courts have uniformly held that dismissal is not required.

 See Rutledge, and United States v. Buchanan 485 F.3d 274, 278-279 (5 th Cir. 2007).

        The government, on the other hand, takes the position that although its pleading is

 admittedly multiplicitous, the court should impose no remedy. Professor Wright takes the

 position that the question of whether or not to order election of counts by the government

 is left solely to the discretion of the trial court. Professor Wright concedes that the

 Advisory Committee Notes to Rule 7, Fed. R. Crim. P., discourage multiplicitous

 pleadings.

        When faced with convictions and sentences under a multiplicitous indictment, the

 Fifth Circuit rule requires remand to the trial court for resentencing on the multiplicitous

 count, after the government has dismissed one of the convictions. United States v. Neal,

 27 F.3d 1035, 1054 (5 th Cir. 1994) and Buchanan.      If the Fifth Circuit is concerned, as it

 indicated it was in Neal, whether the conspiracy conviction ( the multiplicitous count)

 could lead to a harsher sentence on the CCE count, it seems axiomatic that this Court

 should be concerned about lay jurors being unduly prejudiced against the defendant by

 believing that a single course of conduct constituted not one, but two, criminal offenses.

 This concern has been recognized by the Fifth Circuit.     United States v. Smith, 591 F.2d



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 1105, 1108 (5 th Cir. 1979) ( “The principal danger of a multiplicitous indictment is that

 the defendant may receive multiple sentences for the same offense. We also recognize

 that a second danger arises; namely, an adverse psychological effect on the jury may

 result from the suggestion that several crimes have been committed.”)

         Where an indictment is found to be multiplicitous, the trial court may order the

 government to elect on which of the multiplicitous counts it intends to procede. United

 States v. Johnson, 91 F.3 695, n.1 (5 th Cir. 1996) and Wright and Miller, supra.

        Since counts one and fifteen are multiplicitous, the government may elect to

 proceed on either one, but not both, of these counts against the defendant Alexander at

 trial. Accordingly;

        IT IS ORDERED that the government shall notify the court and the defendant

 within 15 days of this order whether it intends to proceed against the defendant, Eric

 Joseph Alexander, on count one or count fifteen of the indictment.

        May 12, 2008, Lafayette, Louisiana.




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